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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

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EVANS VERNA and JASSMAN WILLIAMS,
Individually and on Behalf of A.V., an Infant, —
and B.V., an Infant, as Parent and Next Friend, 15 Civ. 9985 (CS)(LM8)
Plaintiffs, STIPULATION OF
SETTLEMENT,
~ against - GENERAL RELEASE,
ANB ORDER
Supervising Parole Officer PAUL PACHECO, OF DISMISSAL
in His Individual Capacity, Senior Parole Officer
EDWARD ANGRISANI, in His Individual
Capacity, Parole Officer RITA FLYNN, in Her
Individual Capacity, and Parole Officer DEENA
ROYCE, in Her Individual Capacity,
Defendants,
waeee x

 

This SETTLEMENT STIPULATION, GENERAL RELEASE, AND ORDER OF
DISMISSAL (“Settlement Stipulation”) is made by and between Plaintiffs Evans Verna and
Jassman Williams Individually and on behalf of A.V. and B.V., infants, as Parent and Next Friend
(“Plaintiffs”) and Defendants Rita Flynn, Paul Pacheco, and Deena Royce (collectively,
“Defendants”):

WHEREAS, Plaintiffs commenced this action by filing a complaint on or about December
22, 2015 (the “Complaint”), in this Court against Defendants, in the above-captioned action (“the
Action”), alleging that Defendants violated Plaintiffs’ constitutional rights; and

WHEREAS, Plaintiffs filed an Amended Complaint on June 28, 2016 (“Amended
Complaint”) against Defendants in the action, alleging that Defendants violated Plaintiffs’

constitutional rights; and

 
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WHEREAS, Defendants moved to dismiss the Amended Complaint on or about September
13, 2016, and on July 13, 2017, the Court partially granted the motion, dismissing certain claims
against Defendants and all claims against forrner defendant Angrisani; and

WHEREAS, Defendants answered the Amended Complaint on August 11, 2017, denying
any wrongful conduct or liability;

WHEREAS, Defendants, whether in their individual! or official capacities, expressly deny
any wrongful conduct or liability, or violation of any federal, state, or local statute, ordinance, or
law in this matter whatsoever; and

WHEREAS, Plaintiffs and Defendants wish to fully resolve the claims alleged in the
complaint in the Action, and any and all other disputes, whether known or unknown, without further
litigation or proceedings and without admission of fault or Hability and have negotiated in good
faith for that purpose; and

_ WHEREAS, neither Plaintiffs nor any of the Defendants is an infant or incompetent person
other than Plaintiffs A.V. (‘Qa and B.V. (aD: addressed below; and

WHEREAS, Plaintiff represents and warrants that, other than this Action, he has no action
or proceeding pending in any court,-state or federal, arising out of or relating to the subject matter
of this lawsuit; and

WHEREAS, the Court, upon being advised that the parties had agreed to a settlement of this
action in principal, on October 26, 2019 issued an Order discontinuing the action with prejudice
and without costs, provided that if the settlement is not consummated within thirty days of the date .
of that order that Plaintiff may apply to restore the action to the Court’s calendar;

NOW THEREFORE, in consideration of the mutual promises, covenants, representations,

 
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and other consideration contained in this Settlement Stipulation, Plaintiffs and Defendants hereby
agree as follows:

1. Dismissal of the Action With Prejudice

 

The Action, and all claims asserted therein are discontinued with prejudice against all
Defendants pursuant to Fed. R. Civ. P. 41(a)(1)(A)Gi) and without payments, attorneys’ fees, costs,
disbursements, or expenses in excess of the amounts specified in Paragraph 2 below.

2, Payment to Plaintiff and Plaintiffs’ Attorneys

Tn full consideration of Plaintiffs’ execution of this Settlement Stipulation, their agreement
to be bound by ifs terms, and their undertakings as set forth herein including, but not limited to, the
dismissal of the Action with prejudice and other good and valuable consideration, the sufficiency
of which is hereby acknowledged, the State of New York, on behalf of Defendants, shall pay the
gross amount of One Hundred and Fifty Thousand Dollars ($150,000), in full satisfaction of any
and all claims, allegations or actions, direct or indirect, known or unknown, that Plaintiffs had,
has, or may have against the Defendants, whether in their individual or official capacities, arising
out of conduct, acts, or omissions prior to, up to and including the date of this Settlement
Stipulation, including but not limited to those asserted in the Action, including any attorney’s fees,
costs, disbursements, and expenses incurred by Plaintiffs for any and all counsel who have assisted
Plaintiffs or at any time represented Plaintiffs in the Action or in connection with any other
proceeding, administrative, judicial, or otherwise, and any other claim or action alleging any of the
acts, transactions, occurrences, or omissions asserted in the Actions as follows:

{a} The State of New York, on behalf of the Defendants, shall pay to Plaintiff Verna

Evans the sum of Thirty Thousand Dollars ($30,000) and Plaintiff Jassman Williams the sum of

 
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Twenty T'wo Thousand Six Hundred and Sixty Six Dollars and Sixty Eight Cents ($22,666.68).
Subject to the approval of .a motion for an infant’s compromise by the Court that is being
simultaneously filed by counsel for Plaintiffs, the State of New-York, on behalf of Defendants, sha!!
pay Plaintiff A.V. a? the sum of Twenty Two Thousand Six Hundred and Sixty Six
Dollars and Sixty Six Cents ($22,666.66) and Plaintiff B.V. a the sum of Twenty Two
Thousand Six Hundred and Sixty Six Dollars and Sixty Six Cents ($22,666.66).! For each payment
to Plaintiffs referenced above, an ILR.S. Form 1099 shall be issued, The payments referenced above
shall be in full satisfaction and complete satisfaction of any and all claims for compensatory
damages (including but not limited to pain and suffering, mental and emotional anguish and trauma,
damage to reputation, economic damages, punitive damages, damages to liberty or other interests,
and liquidated damages) incurred by Plaintiffs that were or could have been the subject of any claim
in the Action, as well as in connection with any other proceeding, administrative, judicial, or
otherwise, including but not limited to any other claim or action alleging any of the acts,
transactions, occurrences, or omissions asserted or purportedly asserted in the Action. Payment
shall be made by checks in the amounts above and shall be made payable to Plaintiffs as listed
above and shall be mailed to: Richard Pakola, Esq., 521 Route 304, Bardonia, New York 10954,
and counsel Richard Pakola, Esq. will forward payment to Plaintiffs.

(b) The State of New York, on behalf of the Defendants, shall pay to attorneys for
Plaintiff the sum of Fifty Two Thousand Dollars ($52,000), in full and complete satisfaction of any

and all claims, purported claims, allegations, or causes of action for attorneys’ fees, costs,

 

' Pursuant to the proposed infant compromise submitted to the Court by Plaintiffs, the payments to
Plaintiffs A.V. aa and B.V. aE: each be held in bank accounts in trust
for each infant until time as each infant reaches the age of 18.

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disbursements, and expenses incurred by Plaintiff for any and all legal counsel, including but not
limited to Richard Pakola, Esq., who have at any time represented Plaintiffs in the Action or in
connection with any other proceeding, administrative, judicial or otherwise, and any other claim or
action arising from, based upon, or alleging any of the acts, transactions, occurrences, or omissions
asserted or purportedly asserted in the Action against Defendants. The foregoing payment shall be
made payable to: Richard Pakola, Esq. and mailed to Richard Pakola, Esq, 521 Route 304,
Bardonia, New York 10954.

3. State Approval of Payments

Payment of the settlement amount specified in Paragraph 2 of this Agreement is subject to
the approval of all appropriate State officials in accordance with N.Y. Public Officers Law § 17.
Plaintiffs and Plaintiffs’ attorneys agree to promptly execute and deliver all necessary and
appropriate vouchers and other documentation requested with respect to obtaining such approval
and effectuating payment.

4, Accrual of Interest

In the event that payment of the settlement amounts paid to Plaintiffs, as specified in
Paragraph 2 of this Settlement Agreement, have not been made by the one hundred twentieth
(120th) day after recelpt by the Office of the Attorney General of a “So Ordered” copy of this
Settlement Agreement and “So Ordered” Infant’s Compromise Order, entered into the record by
the Clerk of Court, together with all other documentation required under Paragraphs 3 and 7 of this
Agreement, interest on any part of the settlement amount not paid by the one hundred twentieth
(120th) day shall accrue at the statutory rate prescribed by 28 U.S.C. § 1961, commencing on the

one hundred twenty-first (12ist) day, unless the provisions of Executive Law Section 632-a apply

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to Plaintiff Evans Verna and the payment hereunder constitutes “funds of a convicted person” under
the Son of Sam Law, in which event, the one hundred and twenty (120) day payment period shall

be extended by an additional thirty (30) days with respect to the first check to allow for compliance

with that law.

5. Liability of Plaintiffs and Plaintiffs’ Attorneys for Taxes

It is understood and agreed that any taxes, ot interest or penalties on taxes, on the settlement
amount specified in Paragraph 2 of this Agreement shall be the sole and complete responsibility of
Plaintiffs and Plaintiffs’ attorneys, and that Plaintiff and Plaintiffs’ attorneys shall have no claim,
tight or cause of action against Defendants, DOCCS, the State of New York (including, but not
limited to, any and all agencies, departments, and subdivisions thereof), and any of their officials,
employees or agents, whether in their individual or official capacities, on account of such taxes,
interest or penalties. Plaintiffs and Plaintiffs’ attorneys agree that they will defend, indemnify, and
hold harmless Defendants, DOCCS, the State of New York (including, ‘but not limited to, any and
all agencies, departments, and subdivisions thereof), and any of their officials, employees, or agents,
whether in their individual or official capacities, for the satisfaction of any such taxes, or interest
or penalties on taxes.

6. Liability of Plaintiffs and Plaintiffs’.Attorneys for Liens and Setoffs

Plaintiffs and Plaintiffs’ attorneys agree that neither Defendants, DOCCS, the State of New
York (including, but not limited to, any and all agencies, departments, and subdivisions thereof),
nor any of their officials, employees or agents, whether in their individual or official capacities,
shall be responsible for any liens or setoffs of any kind (including, but not limited to, any and all

unemployment benefits, workers’ compensation, tax, or child support liens) which may attach to

 
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the settlement amount specified in Paragraph 2 of this Agreement. Plaintiffs and Plaintiffs’
attorneys shall have no claim, right, or cause of action against Defendants, DOCCS, the State of
New York (inchuding, but not limited to, any and all agencies, departments, and subdivisions
thereof), or any of their officials, employees, or agents, whether in their individual or official
capacities, on account of such liens, and agree that they will defend, indemnify, and hold harmless
Defendants, DOCCS, the State of New York (including, but not limited to, any and all agencies,
departments, and subdivisions thereof), and any of their officials, employees, or agents, whether in
their individual or official capacities, for the satisfaction of any such liens.

7. Medicare Certification

Piaintiffs Evans Verna and Jassman Williams acknowledge and understand that Section 111
of the Medicare, Medicaid, and SCHIP Extension Act of 2007 (“MMSEA”), 42 U.S.C, § 1395y(b),
mandates that the State of New York and the OAG report information to Medicare regarding
settlements, judgments, awards or payments of any kind for the purpose of coordinating benefits
for Medicare beneficiaries, and agrees to deliver executed and notarized Affidavits of Medicare
Eligibility Status, in the form annexed hereto as Exhibit A, to the OAG.” Plaintiff and Plaintiffs’
attorneys acknowledge and understand that the submission of these Affidavits, and any and all
requested supporting documentation, to the OAG is a prerequisite to payment of the settlement
amount specified in Paragraph 2 of this Agreement, and falls within the category of “other

documentation” described in Paragraphs 3 and 4 of this Agreement.

 

? Plaintiffs A.V. and B.V, are under 16 % years of age and are not subject to the reporting
requirements of the MMSEA.
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8. Liability of Plaintiffs for Any Medicare Payments and/or Liens

Plaintiffs agrees to defend, indemnify, and hold harmless Defendants, the State of New York
(including, but not limited to, any and all agencies, departments, and subdivisions thereof}, and any
of their officials, employees, or agents, whether in their official or individual capacities, regarding
any liens or past and/or future Medicare payments presently known or unknown in connection with
the Action. If conditional and/or future anticipated Medicare payments have not been satisfied, the
State of New York and/or Department of Corrections and Community Supervision and/or the OAG
reserve the right to issue a multi-party check naming Medicare as a payee or to issue a check to
Medicare directly based on the Medicare Final Demand Letter with respect to the amounts specified
in Paragraph 2 of this Agreement. Upon receipt of all required documentation under Paragraphs 3,
4, and 7, payment of the settkement amount specified in Paragraph 2 shall be made in accordance
with the terms set forth herein.

9, General Release

In consideration of the payment of the sum recited in Paragraph 2 above, the sufficiency of
which is hereby acknowledged, Plaintiffs, on behalf of themselves, their heirs, executors,
administrators, successors, attorneys and assigns (collectively, “the Releasing Parties”), hereby
releases and forever discharges each of the Defendants, DOCCS, and the State of New York
(including, but not limited to, any and all agencies, departments, and subdivisions thereof), and all
of their present and former principals, officers, officials, directors, members, affiliates, employces,
agents, attorneys, insurers, subdivisions, subsidiaries, heirs, administrators, and assigns, whether in
their individual or official capacities (collectively, “the Released Parties”), from all manner of

actions, injuries, proceedings, causes of action, grievances, suits, debts, obligations, dues, sums of

 
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money, accounts, contracts, controversies, agreements, promises, damages, judgments, claims, and
demands whatsoever, direct or indirect, known or unknown, discovered or undiscovered, that the
Releasing Parties ever had, now have, or shall or may have in the future against some, any, or all
of the Released Parties, for or by reason of any act, transaction, occurrence, omission, cause, matter,
or thing whatsoever up to and including the date of this Settlement Agreement. Plaintiff also waives
and releases any and all claims against the State of New York, its agencies, departments, and
officials in the New York Court of Claims or any other forum, administrative or otherwise, related
to or arising from any transactions, acts, omissions, or occurrences up ta and including the date of
this Settlement Agreement.

10. No Other Action or Proceeding Commenced

Other than the Action, Plaintiffs represents and warrant that they have not commenced,
maintained, or prosecuted any action, charge, complaint, grievance, or proceeding of any kind
against Defendants, the State of New York (including, but not limited to, any agencies, departments,
and subdivisions thereof}, and/or any of their officials, employees, or agents, whether in their
individual! or official capacities, on his own behalf and/or on behalf of any other person and/or on
behalf of or as a member of any alleged class of persons, that none of the foregoing is currently
pending in any court or before any administrative or investigative body or agency, and
acknowledges that this representation constitutes a material inducement for Defendants to enter into
this Agreement.

11. Wo Other Attorney

The undersigned attorney for Plaintiffs represents and warrant that there are no other

attorneys haying a lien for services rendered to Plaintiff pursuant to the provisions of N.Y. Judiciary

 
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Law § 475 or otherwise in the Action, or in any other action or proceeding alleging any of the acts,
transactions, occurrences, or omissions asserted or purportedly asserted in the Action. The
undersigned attorney for Plaintiffs agrees to defend, indemnify, and hold harmless Defendants, the
State of New York (including, but not limited to, any and all agencies, departments, and
subdivisions thereof), and any of their officials, employees, or agents, whether in their individual
or official capacities, from any liability or claims for attorneys’ fees, costs, disbursements, or
expenses incurred by Plaintiffs in the Action or in connection with any other proceeding,
administrative, judicial or otherwise, and any other claim or action alleging any of the acts,
transactions, occurrences, or omissions asserted or purportedly asserted in the Action.

12. No Prevailing Party

Neither Plaintiffs nor Defendants shal! be deemed a “prevailing party” for any purpose
including, but not limited to, any statutory or contractual claim based upon “prevailing party” status
with respect to the Action.

13. Suecessors and Assigns

The terms and conditions of this Agreement shall inure to the benefit of, and be binding
upon, the successors and assigns of each party hereto.

14, Authority

Each signatory to this Agreement hereby represents and warrants that he, she, or it has the
requisite authority to enter into this Agreement and has not previously assigned or transferred any

rights or interests with respect to the matters covered by this Agreement.

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15, Voluntary Agreement

The parties hereto execute and deliver this Agreement voluntarily after being fully informed
of its terms, contents and effect, and acknowledges that she, he or it understands its terms, contents
and effect. The parties hereto acknowledge that he, she or it is aware, and is advised, of his, her or
its right to seek the advice of an attorney and that he, she or it has been represented by counsel of
his, her or its own choosing before agreeing to any settlement or release, and no compromise or
representation of any kind, other than as set forth or referred to herein, has been made to any party
hereto or any one acting on behalf of such party.

16. No Admission of Liability

It is understood and agreed that any action taken or payments made pursuant to this
Agreement are made solely to avoid the burdens and expense of protracted litigation, and that this
Agreement and the actions taken or payment made pursuant hereto are not to be construed as
constituting any determination on the merits of any claims, whether asserted or purportedly asserted
in the Action, or as an admission of wrongdoing or lability. Nothing contained in this Agreement
shall be deemed to constitute a policy, practice, or custom of DOCCS, the State of New York
(including, but not limited to, any and all agencies, departments, and subdivisions thereof), or any
of their officials, employees, or agents, whether in their individual or official capacities.

17. No Precedential Value

This Agreement shall not in any manner be construed as determinative of the issues or
claims, whether raised or purportedly raised, in the Action or any other proceeding, and shall have
no precedential value. In addition, notwithstanding the provisions of any paragraph herein, this

Agreement shall not bind or collaterally estop Defendants, the State of New York (including, but

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not limited to, any and all agencies, departments, and subdivisions thereof), or any of their officials,
employees, or agents, whether in their individual or official capacities, in any pending or future
actions or proceedings in which the same or similar issues are raised, from defending any and all
issues raised in said actions or proceedings, or from advancing any and ail available defenses.
‘18. Entire Agreement
This Agreement constitutes the entire agreement between the parties hereto pertaining to
the subject matter hereof, and supersedes and embodies, merges and integrates all prior and current
agreements and understandings of the parties hereto, whether written or oral, with respect to the
subject matter of this Agreement, and may not be clarified, modified, changed, or amended except
ina writing duly executed by the parties hereto or an authorized representative of the parties hereto.
19, Governing Law
The terms of this Agreement shall be governed by, and construed in accordance with, the
laws of the State of New York applicable to contracts to be performed wholly within the State of
New York, except to the extent that federal law may apply to Plaintiffs’ release and waiver of
federal claims or purported claims pursuant to Paragraph 9 of this Agrecment,
20. Severability
If any provision of this Agreement shall be held by a court of competent jurisdiction to be
invalid, void, or unenforceable in whole or in part, such decision shall not invalidate the remaining
portion or affect its validity.
21, Headings
The headings contained in this Agreement are for convenience of reference only and are

not a material part of this Agreement.

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22, Execution

This Agreement may be executed in any number of counterparts, all of which taken together
shall constitute one Agreement, and may be executed by facsimile signature and facsimile notary
‘seal.

IN WITNESS WHEREOF, the parties hereto acknowledge that they have read this
Agreement and accept and agree to the provisions contained herein, and have each executed this

Agreement to be effective on the day and date indicated below.

Dated: New York, New York
November— 6, 2019 LETITIA JAMES
Thee beeen Attomey General of the State of New York
Attorney for Defendants

Jen tfoet—

Jeb Harben

Assistant Attomey General
28 Liberty Street

New York, NY 10005
(212) 416-6185

jeb.harben@ag.ny.gov
Dated: Bardonia, New York
—November "2019 RICHARD PAKOLA, ESQ.
Qecen bor Attorney for Plaintiffs

C7 0( KL,

Richard ae Esq. \

521 Route 304

Bardonia, New York 10954
(845) 634-2221

So Ordered. pakolalaw@gmail.com :

Gatny Seibel, USD: |

Da tea: 21/4

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EVANS VERNA
Plaintiff
EVANS VERNA
ACKNOWLEDGMENT
Decenber

Qn the 4 ~__ day of “2019, before me came, Plaintiff, Evans Verma, known to me

rin a rm rere

or proved to me on the basis of satisfactory evidence to be the person whose name is subscribed on

the within instrument, and acknowledged to me that he executed the same.

COS (eb,

Notary Public

Richard sa Pakola

ublic, Stale of N

No. O2PAGiese40 ” York
Qualified in Rockland

Commission Expires Mareh 28, 20% 3

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JASSMAN WILLIAMS
Plaintiff

Nt phn

Jasgipvan Williams as Plaintiff and
As Parent, Next frtend, and Natural
Nu

Guardian of Infant Plaintiffs A.V.
<<’ iz

ACKNOWLEDGMENT

On theAD™ day of Nowenrvenrs, before me came, Plaintiff, Jassman Williams, known

to me or proved to me on the basis of satisfactory evidence to be the person whose name is

subscribed on the within instrument, and acknowledged to me that she executed the same

site, New

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RAR, ea Public

SO ORDERED: op Pages EUS
: “htS O ee

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EXHIBIT A

 
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

 

werent nena nee nneenenee xX
EVANS VERNA, ETAL. 15 Civ, 9985 (CS)(LMS)
Plaintiff, AFFIDAVIT OF MEDICARE
ELIGIBILITY STATUS
-against-
PAUL PACHECO, et al.
Defendants.
mann neneedebennennsanee x
STATE OF NEW YORK )
} ss.:
COUNTY OF )

EVANS VERNA, being duly sworn, deposes and says:
1, I am a Plaintiff in the above-captioned action (“the Action”), and currently reside

at

 

2, I make and submit this affidavit with full knowledge that the same will be relied
upon by the Office of the Attorney General (“OAG”), its employees, agents, and representatives
in connection with the settlement of the Action, specifically as it relates to the State of New
York’s obligations as to Medicare compliance primarily pursuant to Section 111 of the Medicare,
Medicaid and SCHIP Extension Act of 2007 (“MMSEA”) and the Medicare Secondary Payer
Act (“MSP”). L understand that a query will be or has been made to verify my current Medicare
eligibility status.

3. I hereby acknowledge and understand that as mandated by the Centers for
Medicare and Medicaid Services (“CMS”) and promulgated by and through its rules and

regulations including, but not limited to, the MMSEA and MSP, I am required to: (a) reimburse

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Medicare for conditional payments it has made on my behalf for injuries alleged in the Action
from the proceeds of the settlement herein; and/or (b) utilize the settlement proceeds to pay for
any future medical expenses, when necessary, for injuries alleged in the Action.

4, J further acknowledge that the information provided herein will be relied upon by
the OAG as true and accurate and, when applicable, will be used for reporting pursuant to
MMSEA and MSP and as deemed necessary by the OAG.

3 | hereby agree to promptly provide the OAG with any and all information

necessary and required for its reporting pursuant to the MMSEA and MSP.

PEDIGREE INFORMATION
& Please provide the noted personal background information, #”

6. I have been known by the following names (please include any all aliases, former

names, and/or maiden names):

 

Thereby acknowledge that I can be identified by these names and that all these names are indeed
referring to me.
7. I consent to the OAG verifying my current Medicare eligibility for purposes of its

compliance with the MMSEA and MSP, and affirm that:

a. my social security number is ;
b. my date of birth is ; and
C. my gender is male.

 
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CURRENT MEDICARE ELIGIBILITY

& Please initial and affirm your applicable current Medicare eligibility status,

As of the date of this affidavit (please select either paragraph [8] or [9}):

8. ao

lam not currently receiving nor have | ever received Medicare

coverage and/or benefits.

9. ao

lam a Medicare beneficiary and my Medicare Health Insurance

Claim (“HIC”) number is . [am aware of my obligation to reimburse

 

Medicare for payments and/or benefits that 1 received directly or indirectly from Medicare for

medical expenses for any injuries alleged in the Action, I understand that reimbursement

directly to Medicare may be made from any proceeds I receive from the settlement of the Action,

and affirm that (please select either sub-paragraph fa}, [6], or fe)):

a.

& Medicare has confirmed that no payment is due and owing
from the total proceeds of the settlement of the Action. (Please atiach a
copy of Medicare’s letter.)

& Medicare has confirmed that it will accept the total amount
of $ as full and fina! reimbursement of all Medicare
payments made to date. (Please attach a copy of the Medicare
reimbursement letter). In accordance with the attached Medicare
reimbursement letter, I consent to the payment of that sum directly from
the total proceeds of the settlement of the Action,

& 1 am awaiting a Final Demand letter or equivalent
information from Medicare. Upon my receipt of the necessary
documentation, I will promptly provide it to the assigned Assistant
Attorney General and to the OAG’s Medicare Compliance Unit via email
at Medicare.Compliance@ag.ny.gov. I agree that no interest or penalty
will be assessed or demanded by me or on my behalf against the OAG or
the New York State Department of Health (“DOH”), or any of their
officials, employees or agents, whether in their individual or official
capacities, for any delay in payment pursuant to the terms and conditions
of the settlement in the above-captioned litigation prior to OAG’s receipt
of any and all necessary documentation from me issued by Medicare
(including but not limited to Medicare’s Final Demand letter or equivalent
correspondence). In accordance with Medicare’s Final Demand letter or
its equivalent correspondence, I consent to the payment of that sum
directly from the total proceeds of the settlement of the Action.

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FUTURE MEDICARE ELIGIBILITY

# Please initial and affirm applicable future Medicare eligibility status

As of the date of this affidavit (please select either paragraph [10], [11] or [12]}-

10. #

I do not expect to be a Medicare recipient within thirty (30) months

of the date of this affidavit and the date of the settlement of the Action, and affirm that:

sao FP

il A

I have not applied for Social Security Disability Insurance (SSDD,;

I have not been denied SSDI and do not anticipate appealing that decision;
I am not in the process of appealing or re-filing for SSDI;

Tam not 62.5 years or older; and

I do not have End Stage Renal Disease (a qualifying condition for
Medicare).

lam not currently a Medicare beneficiary. However, I anticipate

that I will be Medicare eligible within thirty (30) months of the date of this affidavit and the date

of the settlement of the Action, and affirm that (please select either sub-paragraph fa] or [b}):

a.

12

a I do not require any future treatment for injuries alleged in
the Action, The required certification(s) for the injuries alleged in the
Action is/are attached. The attached certification(s) attest(s) that there is
no anticipated future treatment required for the injuries alleged in the
Action,

& I do require future treatinent for the injuries alleged in the
Action. In accordance with the attached Medicare Set-Aside Trust
(“MSA”), I consent to the payment of $ , payable to

from the total proceeds of the settlement of the Action,
| affirm this sum will be used for medicals expenses relating to the injuries
alleged in the Action,

Jam currently a Medicare beneficiary, and affirm that (please

select either sub-paragraph fa] or [b]):

a,

aS I do not require any future treatment for injuries that are the
subject of the Action. The required certification(s) for the injuries alleged
in the Action is attached. The attached certification attests that there is no
anticipated future treatment required for the injuries alleged in the Action,

& I do require future treatment for the injuries alleged in the
Action, In accordance with the attached Medicare Set-Aside Trust

 
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(“MSA”), I consent to the payment of $ , payable to

from the total proceeds of the settlement of the Action.
I affirm this sum will be used for medicals expenses relating to the injuries
alleged in the Action.

 

EVANS VERNA

Sworn to before me this
___ day of 52019

 

NOTARY PUBLIC

 
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

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EVANS VERNA, ET AL. 15 Civ, 9985 (CS)(LMS)
Plaintiff, AFFIDAVIT OF MEDICARE
ELIGIBILITY STATUS
~against- -
PAUL PACHECO, et al.
Defendants.
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STATE OF NEW YORK )
) s5.:
COUNTY OF )

JASSMAN WILLIAMS, being duly sworn, deposes and says:.
l. Lam a Plaintiff in the above-captioned action (“the Action”), and currently reside

at

 

2. I make and submit this affidavit with full knowledge that the same will be relied
upon by the Office of the Attorney General (“OAG”), its employees, agents, and representatives
in connection with the settlement of the Action, specifically as it relates to the State of New
York’s obligations as to Medicare compliance primarily pursuant to Section 111 of the Medicare,
Medicaid and SCHIP Extension Act of 2007 (“MMSEA”) and the Medicare Secondary Payer
Act (“MSP”). [ understand that a query will be or has been made to verify my current Medicare
eligibility status.

3. I hereby acknowledge and understand that as mandated by the Centers for
Medicare and Medicaid Services (“CMS”) and promulgated by and through its rules and

regulations including, but not limited to, the MMSEA and MSP, I am required to; (a) reimburse

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Medicare for conditional payments it has made on my behalf for injuries alleged in the Action
from the proceeds of the settlement herein; and/or (b) utilize the settlement proceeds to pay for
any future medical expenses, when necessary, for injuries alleged in the Action.

. 4, I further acknowledge that the information provided herein will be relied upon by
the OAG as true and accurate and, when applicable, will be used for reporting pursuant to
MMSEA and MSP and as deemed necessary by the OAG,

5. J hereby agree to promptly provide the OAG with any and all information

necessary and required for its reporting pursuant to the MMSBA and MSP.

PEDIGREE INFORMATION
# Please provide the noted personal background Information, #”

6. I have been known by the following names (please include any all aliases, former

names, and/or maiden names):

 

I hereby acknowledge that I can be identified by these names and that all these names are indeed
referring to me.
7. I consent to the OAG verifying my current Medicare eligibility for purposes of its

compliance with the MMSEA and MSP, and affirm that:

a. my social security number is ;
b. my date of birth is ; and
c. my gender is female.

 
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CURRENT MEDICARE ELIGIBILITY

# Please initial and affirm your applicable current Medicare eligibility status. #”

As of the date of this affidavit (please select either paragraph [8] er [9]):

8. &

I am not currently receiving nor have I ever received Medicare

coverage and/or benefits.

9, &

lam a Medicare benefictary and my Medicare Health Insurance

Claim (“HIC”) number is . Lam aware of my obligation to reimburse

Medicare for payments and/or benefits that I received directly or indirectly from Medicare for

medical expenses for any injuries alleged in the Action. I understand that reimbursement

_ directly to Medicare may be made from any proceeds I receive from the settlement of the Action,

and affirm that (please select either sub-paragraph fa], [b}, or [c}):

a.

& Medicare has confirmed that no payment is due and owing
from the total proceeds of the settlement of the Action. (Please attach a
copy of Medicare’s letter.)

& Medicare has confirmed that it will accept the total amount
of $ as full and final reimbursement of all Medicare
payments made to date. (Please attach a copy of the Medicare
reimbursement letter), In accordance with the attached Medicare
reimbursement letter, | consent to the payment of that sum directly from
the total proceeds of the settlement of the Action.

a I am awaiting a Final Demand letter or equivalent
information from Medicare, Upon my receipt of the necessary
documentation, I will promptly provide it to the assigned Assistant
Attomey General and to the OAG’s Medicare Compliance Unit via email
at Medicare.Compliance@ag.ny.gov, [agree that no interest or penalty
will be assessed or demanded by me or on my behalf against the OAG or
the New York State Department of Health (“DOH”), or any of their
officials, employees or agents, whether in their individual or official
capacities, for any delay in payment pursuant to the terms and conditions
of the settlement in the above-captioned litigation prior to OAG’s receipt
of any and all necessary documentation from me issued by Medicare
(including but not limited to Medicare’s Final Demand letter or equivalent
correspondence). In accordance with Medicare’s Final Demand letter or
its equivalent correspondence, I consent to the payment of that sum
directly from the total proceeds of the settlement of the Action.

 

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FUTURE MEDICARE ELIGIBILITY
& Please initial and affirm applicable future Medicare eligibility status #”

As of the date of this affidavit (please select either paragraph [10], {11} or [12]:
10, I do not expect to be a Medicare recipient within thirty (30) months
of the date of this affidavit and the date of the settlement of the Action, and affirm that:

[have not applied for Social Security Disability Insurance (SSDI);

| have not been denied SSDI and do not anticipate appealing that decision;
[arm not in the process of appealing or re-filing for SSDI;

I am not 62,5 years or older; and

I do not have End Stage Renal Disease (a qualifying condition for
Medicare).

foe oP

ll. # Iam not currently a Medicare beneficiary, However, I anticipate
that 1 will be Medicare eligible within thirty (30) months of the date of this affidavit and the date
of the settlement of the Action, and affirm that (please select either sub-paragraph fa] or [b}):

a. & I do not require any future treatment for injuries alleged in
the Action. The required certification(s) for the injuries alleged in the
Action is/are attached. The attached certification(s) attest(s) that there is
no anticipated future treatment required for the injuries alleged in the
Action.

b. a I do require future treatment for the injuries alleged in the
Action. In accordance with the attached Medicare Set-Aside Trust
(“MSA”), T consent to the payment of § , payable to

from the total proceeds of the settlement of the Action.
1 affirm this sum will be used for medicals expenses relating to the injuries
alleged in the Action.

12. # lam currently a Medicare beneficiary, and affirm that (please
select either sub-paragraph [a] or [b)):
a, a I do not require any future treatment for injuries that are the
subject of the Action, The required certification(s) for the injuries alleged
in the Action is attached. The attached certification attests that there is no

anticipated future treatment required for the injuries alleged in the Action.

b. & I do require future treatment for the injuries alleged in the
Action. In accordance with the attached Medicare Set-Aside Trust

 
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(“MSA”), I consent to the payment of $ , payable to

from the total proceeds of the settlement of the Action.
I affirm this sum will be used for medicals expenses relating to the injuries
alleged in the Action.

 

JASSMAN WILLIAMS

Sworn to before me this
___ day of , 2019

 

NOTARY PUBLIC

 
